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                       IN TH E UN ITED STATES DJSTRICT COURT FOR THE
                                EA STERN DI STRICT OF VIRGINIA

                                        Alexandria Division


UNITED STATES OF AMERICA                          )
                                                  )
                  v.                              )   Case No. I :24-MJ-490
                                                  )
KAL EEL MALCOLM NAGBE                             )
                                                  )
                                Defendant.        )


                                 AFFIDAVIT IN SUPPORT OF A
                                   CRIMINAL COMPLAINT

       I, Natalee Walker, being first duly sworn, hereby depose and state as follows:

                                         INTRODUCTION

        I.        I am a Po lice Officer with the Pentagon Force Protection Agency (PFPA), and I

have been so employed since 2020. I am currently assigned to the Pentago n Poli ce Division as a

Mobi le Patro l Officer, located at the Pentagon Building in Arlington, Virginia. As a Po lice

Officer, I investigate and enfo rce federal violations on the Pentagon Reservation concerning

moving veh icles, weapons, contro lled substances, and other related offenses. l have gained

experience conducting these duties in the fi eld and through trai nings centered on these types of

investigations.

       2.         I am a law enforcement officer who is engaged in enforcing criminal laws,

including offenses in vio lation of 32 CFR 234.17 (Vehicle and traffic safety), 32 CFR 234. 10

(Possession of a weapon), 32 CFR 234. 11 (Alcoho lic beverages and controlled substances), 32

CFR 234.6 (Interfering w ith an agency function), and any other necessary 32 CFR part 234

conduct on The Pentagon Reservation violations. I am authorized to investigate and enforce such
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violations of the Code of Federal Regulations and U nited States Code (includi ng Title 18) as a

sworn law enforceme nt officer under Section 2674 of Title 10 of the United States Code.

        3.      The facts in this affidavit come from my personal observations, my training a nd

experience, and information obtained from other officers and agenc ies. This affidavit is intended

to show merely that there is suffic ient probable cause for the requested criminal com pla int and

does not set forth all my knowledge about this matter.

        4.      I submit this affidavit in support of a criminal compla int charging KALEEL

MALCOLM NAG BE w ith the unlawful possession of a firearm by a person convicted of a crime

punishab le by a term of imprisonment exceed ing one year, in vi o lation of 18 U .S.C. § 922(g)( I).

For the reasons set fo rth below, J respectfully submit that probable cause exists to be lieve that on

December 7, 2024, NAGBE, who has a prior conviction puni shable by a term of imprisonment

exceeding one year, drove onto the Pentagon reservation w ith over 14 pounds of marijuana in the

tru nk of his vehicle and did concea l a loaded handgun, manufactured outside of the

Commonwealth of Virg inia, with an attached Glock switch in h is underwear w hen stopped

during a traffic stop by Pentagon Pol ice in the Eastern Di strict of Virgin ia.

                             STATEMENT OF PROBABLE CAUSE

        5.      On December 7, 2024, at approxi mately 1448 hours, an ind iv idua l later identified

as KALEEL MALCOLM             AGBE, w ho was dri ving a b lack Mercedes A220 4M ATIC bearing

Maryland license plates (2GJ570 I), was stopped by Pentagon Po lice Officers o n the Pentagon

Reservation, located in Arl ington, Virg inia, within the Eastern District of Virgini a, for using a

handhe ld communicati on dev ice, i.e., a cellphone, w hile operati ng a motor vehicle, wh ic h is in

violation of Virg inia Code 46.2-8 18.2 (Using a handhe ld communication device whi le operating

a motor vehic le).



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        6.      While conducting the traffic stop, officers on scene could smell the odor of

marijuana coming from the vehicle. When officers asked NAGBE to exit the vehic le to conduct a

probable cause search for marijuana,      AGBE exited and began questioning officers. When

officers asked NAGBE if he possessed anythi ng on his person, he became nervous and fidgety.

NAGBE then reente red the vehicle and attempted to flee with offi cers hanging onto the vehicle.

T he vehicle was put back into pa rk a nd NAG BE was eventually detai ned ; it requi red three

officers to do so as NAGBE was physica lly resisting. One offi cer injured his hand in th is

a ltercation and was transferred to the hospital to receive med ica l attention.

        7.      O nce secured, officers conducted a search ofNAGBE and discovered a loaded

greenish brown Glock 26 with bl ack g rip tape around the handle, w ith serial number

" BSMB805" on the barrel, slide, and lower frame. W hen Pentagon Police Officers ran the

registration on this serial number, no resu lts returned for the gun. T he gun was fitted w ith an all-

black a utomatic se lector switch on the backplate of the slide, as shown below, w hich I know,

based on my training a nd experience, ind ividual s affix to semi-automatic handguns to re nder

them full y automatic. The gun was loaded with a full 16 round magaz ine, and an extra round in

the chamber. The magazine was loaded with ten fu ll metal jacket 9mm bullets, one fra ng ible

9mm bullet, and six 9mm ho llow po int bullets. The gun has thi s marking : "Made in Austria,

Glock Inc. Smyrna, GA ."




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       8.        AGBE was advised of hi s Miranda rights on scene by Pentagon Police officers

prior to any questioning. NAGBE waived his rights and chose to speak to officers on scene.

NAGBE stated when he initially retrieved the vehic le, he discovered the gun in the g love box of

the Mercedes and retrieved it to avoid any issues.

       9.      Once NAGBE was transported to the Pentagon Support Operations Center for

processing, he was read his Miranda rights a second time by Pentagon Po lice o fficers. and he

chose to waive his rights again and answer further questio ns. Officers questioned   AGBE about

the gun again, and he provided a different version of events - he stated that once he noticed the


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 officers' emergency Iighting equipment be hind him, he opened the center console of the

 Mercedes to look for his license and discovered the firearm. He then retrieved the firearm and

 hid it to avoid getting his father in trouble. When NAG BE was questioned by officers concern ing

 the vehicle he stated the Mercedes belonged to hi s father ' s company, KMN Real Estate.

         I 0.   Pentagon Police Officers conducted a search of the vehicle and discovered two

 large w hite trash bags in the trunk and one a ll black N ike backpack with white logos and a red

 zipper handle inside the trunk. Inside the first trash bag was seven air sea led transparent plastic

 bags containing a green leafy substance resembling marijuana (total weight 7 .5 7 lbs.). Inside the

 second p lastic bag was one ai r sea led transparent plastic bag containing a green leafy s ubstance

 resembling marijuana and four transparent plastic bags containing a green leafy substance

resembling marijuana (total weight 5.1 5 lbs.) . Ins ide the black Nike backpack were two

transparent plastic bags containing a green leafy substance (total weight 1.68 lbs.). The total

combined weight of all the possible marijuana discovered in the trunk was 14.40 lbs.

         I I.   Pentagon Police Offers ran a criminal hi story check on      AGBE and learned that

on April 21, 2023, NAGBE was convicted of possession of a firearm (m inor) in Montgomery

 County, Maryland. He was sentenced to a 5-year term of imprisonment, all but 367 days of

which was suspended, and fi ve years of probation.

                                           CONCLUSION

         12.    Based on the foregoing, I subm it that there is probable cause to be lieve that on

 Decembe r 7, 2024, at approximate ly 1500 hours, KALEEL MALCOLM NAGBE, who was

 previously convicted of a crime punishable by imprisonment for a term exceeding one year,

knowing ly possessed a loaded handgun in his underwear in the Eastern District o f Virg inia, in




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 violation of 18   . . . § 922(g)( I) and J re pectfully reque t that a criminal complaint be issued

 for   AGBE.



                                                              Respectfully ubmitted,



                                                                ata e Walker, Police Officer
                                                               Pentagon Force Pr tecti n Agency


Re pectfully ubmitted and attested to in accordance with the requirement of Fed. R. rim. P.
41 via telephone on December 9, 2024.
                                       Digitally signed by Lindsey R Vaala
Lindsey RVaala                         Date: 2024.12.09 12:59:17 -05'00'
The Honorable L indse R. Vaala
United tate   agi trate Judge




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